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. . Transmitta| Number: 61 3511 3

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Primary Contact: Fiobin Dupey

Assurant Heaith

501 Wesi Michigan
Niiiwaukee, W| 53203

 

Entity:

Entity Served:

Titie ot Action:
Document(s) Type:
Nature of Action:
Court:

Case Number:
Jurisdiction Served:
Date Served on CSC:
Answer or Appearance Due:
Originaiiy Served On:
How Served:

Plaintiff‘s Attorney:

Time insurance Company
Entity iD Number 1878543

Time insurance Company

Lori K. Wiihoit vs. Time insurance Company
Summons/Compiaint

Contract

Washington Chancery Court, Tennessee
37159

Tennessee

10/24/2008

30 Days

TN Departmeni of Comrnerce and insurance on 10/14/2008
Certifieci Mai|

Howei| H. Sherrod, Jr.
423-928~8321

information contained on this transmittai form is for record keeping, notification and torwarding the attached document(s). it does not
constitute a iegai opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

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CaS€ ZZOS-CV-OOSO4-JRG-DH|

EXH\B\`T /i

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STATE OF TENN ESSEE
DEPARTMENT OF COMMERCE AND lNSURANCE
500 JAMES ROBERTSON PARKWAY
NASHVlLLE. TN 372434 l3l

October 22, 2008

Time insurance Company CERTiFlED MAlL

2908 Poston Avenue RETURN RECE|PT REQUESTED
Nashville, TN 37203 7008 1830 0000 6980 0413

NAlC # 69477 Cashier # 5760

Re:Loril-<.Wilhoit V. Time insurance Company

DOCket # 371 59

To Whom lt Nlay Concerrr

We are enclosing herewith a document that has been served on this department on your behalf in connection with
the above-styled matter. v

l hereby make oath that the attached Complaint For Declaratory Judgment was served on me on October 14,
2008 by Lori K. Wilhoit pursuant to Tenn, Code Ann. § 56-2-504 or § 56-2~506. A copy of this document is being
sent to the Chancery Court of Washington County. TN.

Brenda C. Meede
Designated Agent
Service of Process

Enciosures
cc: Chancery Court Clerk
Washington County

P O Box 356
Jonesborough, 'l'n 37659

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/ : § ‘ T: ` v t
'IN THE CttANCERY CouRT OF WASHINGTON COUNTY, TENNESSEE
" A;`t_" 113 JOHNSGN CITY Er JGNESBORGUGH

/

 

 

 

~.___,/l
ctvtL summons
L°ri K' wilh°w CivilAction No. 3 7/Sq
W" NothF.
TO THE DEFENDANT(S):

Pla'lntiff($) Tcnncr.sce law provides a Four Thous:md dollar tS»t.OtlU) personal property exemption imm execution of
\ seizure w satisfy a judgment if a judgment should bc entered against you in this action and you wish to
‘ claim property as exempt. you must t'tic a written list. under oath. of thc items you wish to claim as exempt
with the clerk of the court. Thc list may be |`tlcd at any time and may dc changed by you thereafth us

vS_ necessary howcn:r. unless it is l'tlcd before the judgment becomes i'mal. it will not be effec\i\c as tn any

execution or garnishment issued prior to thc ftling of the iist. Cortnin items arc automatically exempt by law

and do nut need to bc listod. 'icse include items ol necessary wearing apparel tclothing) for yourself and

. _ , ~ ~ ~ . your family and trunks or oth:r receptacles necessary to contain such apparcl. family portmits. t.l't-.l family
Tl me Insur an c e company Biblc, and school books. Sinuidany ofthscit:msb: seized.you woutdha\'c thc rizhttottco\‘¢rdtem. ltyou
do nut understand your exemption right or how to exercise it. you moy wish to sack the counsel of n lawyerA

Action: Declaratory Judgment

 

 

 

Defendan't(s)

To the above named dcfcndant(s):

lidwell H. Sherrod, .Jr.

You arc hereby commanded and required to tile with Chancery Court and to serve upon

 

. pluintift’s attomey, whose

addressis 21t9 East: Main St;reet, Johnson Cit;y, TN 37604 van

answer to the complaint which is herewith served upon you within (30) days after service of this summons upon you, exclusive of the day of service lf you fail to
do so, judgment by default will be taken against you for the relief demanded in thc complaint.

Witnessed and issued this !0 day of fit 14$1/\ ,20{:23__ ,at 1 H, 2 0'¢iock,& M.

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-czeon-" '~o;:-a, “r'r»'.) credit that ibid is a two .
§§at£ mcg;tyu."';rw Ot'i=git HM¢\A ‘ Brcnda Sneyd, Clerk and Mnster

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M- Rcccivedtlt`is ’l§ '- day of ,20 ,at o’cloclt. M.

t'~»_

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. . .- xii d `. k Sh¢rtff . Deputy Shr:n'ftc - Constable
/7/ U nETURr~i'"oN suthth 0F SUMMONS

lhereb£=:tify and return that on the ' day of , 20 at 0’ctock Mt,

l served this summons together with a copy of the complaint herein by delivering a true copy of said summons and complaint to;

.~.._. __,.v~
c

“ ,=i'.*?"“'»'

- g§{_: "`_t,_ Shcriff - Deputy Sheriff - Constablc

 

 

 

" '.t

 

 

 

 

1_ » . v , do hereby accept servi*ci:'of'the within,surnmons as though served by the Shcriff and
acknowledge receipt of a certified copy of original complaint and summons. ' . .;."_
Thi:s day of_ ,ZO_W ,,at o'clock _, M. , , ~'“

Signature

 

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” ~ 'THtS-sutvtm'n

 

 

 

 

 

IN THE CHANCERY COURT FOR WASHINGTON COUNTY, TENNESSEE
AT JOHNSON CITY

LoRt K. thttOtT )

Ptatnurr, i
v. § Ctvtt mtth No. § 7 157
'rIME INSURANCE COMPANY i

Dcfendant. );

 

COMPLA]NT FOR DECLARATORY JUDGMENT

Comes the plaintiff Lori K. Wilhoit (hereinaiier to referred to as “Wilhoit”), by and
through her attorncy, Howell H. Sherrod, Jr., and would show unto this Honorable Court is
support of the Complaint the following:
l. That Wt`lltoit is a citizen and resident ofWashington County, Tcnnessee, residing at
3005 S. Hills Dtt`ve, Johnson City, Tennessee 37601.
2. 'I`hat the defendant, ’l`ime insurance Company (hcreinaflcr referred to as “Time”) at
all times material is corporation licensed and doing in the state ofTennessee with its agent
for service of process being the Commissioncr of lnsurance, Depart:ment of Cornmerce and
insurance.
3. That at all times Wilhoit was insured for injuries such as the injuries received out of
which this claim arose by the defendant having a certificate number 0058551847 (copy
attached as Exhibit l).
4. That the defendant has been advised of a claim under thc aforementioned policy and

has been assigned a claim/document 86788365.

l, wards Snoyd, (.`.l;_arl< rand l.<lae'»:r of the ';'.itonl;r:ry‘ Court"‘
lemon Cttv, Tm'i»"¢.~>n:.¢, leeway certify that this ira a fruitr said

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5. That Wilhoit’s claim was wrongfully turned down contrary to the language of the
contract on May 26, 2008 and again on June 9, 2008..
6. That the defendant has anticipatorin refused to pay the loss even though demand has
been made and the failure to pay has inflicted additional expense, loss or injury including
attorney fees upon the holder of the policy in violation ofT.C.A. § 56-7~] 05.

PREMISES CONSIDERED, PLAINTIFF PRAYS:
l . That the Court render a judgment for declaratory relief relative to the rights, duties,
status and other legal relations between the parties including but not limited to whether or
not Wilhoit’s claim has been wrongfully denied. Additionally, Wilhoit seeks compensatory
and punitive damages as may appear to be proper in the amount not to exceed Five Hundred
Thousand Dollars ($500,000.00) and 'l`hree Million Dollars ($3,000.000.00) respectively
2. Such other further and general relief to which she may be entitled including, but not
limited to prejudgment interest, penalties, attorney fees and costs.

Respectfully submitted,

Lori l<.. Wilhoit

Howell H. Shenrod, Jr., BPR No. 842
Attomey for Plaintiff

SHERROD, GOLDSTElN & LEE
249 East Main Street

.lohnson City, Tennessee 37604
(423) 928-8321

 

Case 2:08-Cv-00304-.]RG-DH| Document 1-1 Filed 11/12/08 Page 5 of 6 Page|D #: 8

 

 

 

 

§§OST BOND

We acknowledge ourselves as principal and sureties for the costs of this cause

SHERROD, GOLDSTEIN & LEE
Attorneys at Law
249 East Main Street
Johnson City, Tennessee 37604
(423) 928~832]

M/M

iioWELL H. sHERROD, JR.

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